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Attorneys for the Petitioner Robert Marie Mark Karpeles,
Foreign Representative of MtGox Co., Ltd., a/k/a MtGox KK

                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                           )
In re                                      ) Chapter 15
                                           )
MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-15
                                           )
           Debtor in a Foreign Proceeding. )
                                           )

               STATEMENT PURSUANT TO BANKRUPTCY RULE 1007(a)(4)

          Robert Marie Mark Karpeles (“Karpeles”), in his capacity as the foreign representative

(the “Petitioner”) of MtGox Co., Ltd. a/k/a MtGox KK (the “Debtor” or “MtGox”), a debtor in a

civil rehabilitation proceeding under Japanese law (the “Japan Proceeding”), currently pending

before the Twentieth Civil Division of the Tokyo District Court, Japan (the “Tokyo Court”),


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respectfully submits this statement pursuant to Rule 1007(a)(4) of the Federal Rules of

Bankruptcy Procedure.

A.      Corporate Ownership Statement.

        As of the date hereof, the below-listed corporations (as defined in section 101(9) of title

11 of the United States Code (the “Bankruptcy Code”)) directly or indirectly own 10% or more

of the equity interests in the Debtor:

                   Corporation Name                                  Percentage Ownership

Tibanne Co., Ltd.                                                            88%


B.      Persons or Bodies Authorized to Administer Foreign Proceedings of the Foreign
        Debtor.

        As of the date hereof, Robert Marie Mark Karpeles (“Karpeles”) is the sole person or

body authorized to administer a “foreign proceeding” with respect to the Debtor. The Japan

Proceeding pending before the Tokyo Court is the sole “foreign proceeding” involving the

Debtor as of the date hereof.

C.      Pending Litigation.

        Petitioner is aware of the following litigation involving the following parties currently

pending in the United States:

         Court                   Case No.                Plaintiff               Additional
                                                                                 Defendants
United States District     Civil Action No.      CoinLab, Inc.              Tibanne Co., Ltd.
Court for the Western      2:13-cv-0077
District of Washington
United States District     Civil Action No.      Gregory Greene,            MtGox, Inc., Tibanne
Court for the Northern     1:14-cv-01437         individually on behalf     Co., Ltd., and
District of Illinois                             of all others similarly    Karpeles
                                                 situated




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D.       Provisional Relief.

         The Petitioner is seeking relief under section 1519 of the Bankruptcy Code against

CoinLab, Inc. and Gregory Greene to enjoin the continuance of the above-described litigation

against the Debtor.

Dated:    March 9, 2014                    Respectfully submitted
          Dallas, Texas
                                           BAKER & McKENZIE LLP

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                                                  Mark Karpeles, Foreign Representative of
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